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                             UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

 IN RE:                                              §              Case No. 23-34815 (JPN)
 GALLERIA 2425 Owner, LLC.                           §
     Debtor                                          §              Chapter 11

 SUPPLEMENTAL OBJECTION TO CHAPTER 11 PLAN OF LIQUIDATION OF THE
DEBTOR BY NATIONAL BANK OF KUWAIT, S.A.K.P., NEW YORK BRANCH AND TO
             FINAL APPROVAL OF DISCLOSURE STATEMENT

TO THE HONORABLE U.S. BANKRUPTCY JUDGE:

       COMES NOW 2425 WL, LLC (“Respondent”) and files this Supplemental Objection to

Plan of Liquidation filed by National Bank of Kuwait and would show as follows:

                                 PROCEDURAL BACKGROUND

       1.      On April 10, 2024, National Bank of Kuwait filed a Plan of Liquidation and

Disclosure Statement. The Disclosure Statement failed to contain most of the information required

under 11 U.S.C. §1125.

       2.      The Bank also filed a Motion for Conditional Approval of the Disclosure Statement.

       3.      The Court set a deadline for filing objections to the Motion for Conditional Approval

on April 24, 2024 at 5:00 p.m. and scheduled a hearing on April 25, 2024 at 2:30 p.m.

       4.      There were three timely objections to the Motion to Conditionally Approve the

Disclosure Statement.

       5.      The Court entered an order canceling the hearing on the Motion for Conditional

Approval and stated its intent to conditionally approve the disclosure statement.

       6.      On May 3, 2024, the Court entered an Order and Notice approving Disclosure

Statement; Fixing Time for Filing Objections to Confirmation of Plan and Fixing Time for Hearing

on Confirmation of Plan. The Court’s order failed to set a deadline for balloting.

       7.      The Bank was required to mail out the plan, the disclosure statement and a ballot to

creditors, equity security holders and other parties in interest.
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       8.       The Court set June 3, 2024 as the deadline for filing objections to the Plan. 2425

WL, LLC filed a timely objection to the Bank’s plan. Since filing its original objection, 2425 WL,

LLC has uncovered additional reasons why the plan is unconfirmable. Rather than requiring the

Court to compare the original and supplemental objections together, 2425 WL, LLC has added the

additional material in bold.

                                            OBJECTIONS

       9.       Under 11 U.S.C. §1129(a)(1) the court must find that “the plan complies with the

applicable provisions of this title.” NBK’s plan does not comply with title 11 in the following

respects:

       a. The Exculpation provisions at para. IX(C) violate Fifth Circuit law. Nexpoint Advisors,

             LP v. Highland Capital Management, LP (In re Highland Capital Management), 48

             F.4th 419 (5thCir. 2022). There the court stated that it “categorically bars third-party

             exculpations absent express authority in another provision of the Bankruptcy Code.” In

             this case, the exulpations protect the Chapter 11 Trustee, NBK, the Liquidating Trustee,

             the Distribution Agent, the Purchaser and each current and former affiliate of each such

             entity for liability for negligence in connection with the Chapter 11 case. This is strictly

             prohibited.

       b. The plan violates 11 U.S.C. §1122 by classifying dissimilar claims in a single class.

             Specifically, Class 6 contains claims of insiders. This class includes the claim of 2425

             WL, LLC, which is a secured claim and the claims of Ali Choudhri, Jetall Companies,

             Inc. and Jetall Capital, LLC, which are unsecured claims. See para. I(A)(46). Secured

             and unsecured claims are not similar claims which may be classified together.

       c. The Plan also violates 11 U.S.C. §1123(a)(4) by providing different treatment to

             creditors within a class without the consent of the class members. In Class 5(b), it states

             that “(t)he NBK Deficiency Claim shall not be subject to objection, disallowance, offset,
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   reduction or subordination.” No other claim within class 5(b) receives this treatment.

   Thus, one member of Class 5(b) is more equal than the other members of Class 5(b).

d. The Plan improperly classifies similar claims of unsecured creditors separately in

   order to gerrymander an accepting class. Classes 5(a), 5(b) and 6 are each classes

   of unsecured claims. The general rule for classifying unsecured claims was stated

   by the Fifth Circuit in Matter of Greystone III Joint Venture, 995 F.2d 1274, 1279

   (5th Cir. 1991) where the Court stated “thou shalt not classify similar claims

   differently in order to gerrymander an affirmative vote on a reorganization plan.”

   The Bank offers the nonsensical justification that claims of insiders are not counted

   when determining acceptable by a class of impaired creditors. However, this rule

   only applies when determining whether the plan has been accepted by a class of

   impaired claims under 11 U.S.C. Sec. 1129(a)(10). It does not affect the general rule

   that claims of insiders are counted when determining acceptance or rejection by a

   class of claims.

e. The Plan purports to deny the claims of insiders in Class 6 without due process. 11

   U.S.C. §502(a) provides that a claim is allowed unless a party in interest objects. The

   Plan purports to deny the claims of insiders without an objection or a hearing.

f. Para. IX(E) of the Plan contains broad injunctive language. The first clause enjoins

   parties granting or being granted releases from pursuing released claims. This is not

   objectionable because it is limited to claims by and between NBK, the Trustee, the

   Liquidating Trustee, the Purchaser and affiliates of the same. However, it goes on to

   state that:

   no Person who has held, holds, or may hold Claims, Interests, or Action may
   commence or pursue a Claim or Action, as applicable, of any kind in any way
   related to the Debtor against any Released Party that arose before the Petition Date
   or arose or arises from or is related to the Chapter 11 Case, the negotiation of the
   Plan, the administration of the Plan or property to be distributed under the Plan,
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             the wind down of the Debtor’s business, the administration of the Liquidation
             Trust, or the transactions in furtherance of the foregoing without the Court (i)
             first determining, after notice and a hearing, that such claim or cause of action
             represents a colorable claim of any kind, including, negligence, bad faith, criminal
             misconduct, willful misconduct, fraud, or gross negligence against a Released Party
             that such person has standing and is otherwise entitled to assert such claim or
             cause of action and (ii) specifically authorizing such Releasing Party to bring such
             claim or cause of action against any such Released Party.

       In In re Highland Capital Management, supra, the Fifth Circuit approved gatekeeping

provisions under the Barton Doctrine against a trustee or other court-appointed officer. However, in

this case, the gatekeeping provisions extend beyond the Trustee and also protect NBK and the

Purchaser (which will likely also be NBK). NBK is not within the zone of interests protected by the

Barton Doctrine. As drafted, the gatekeeping provision means that no party holding a claim in this

case can ever sue NBK for any claim that arose before or during the case without permission from

this Court. This Court lacks subject matter jurisdiction to enjoin claims between non-debtor parties.

Therefore, the gatekeeping provision should be struck as it applies to NBK and the Purchaser.

       10.      Under 11 U.S.C. §1129(a)(2) the Plan Proponent must comply with the

applicable provisions of title 11. This Court ordered that:


       Within two days after the entry of this order, the plan, the disclosure statement
       and a ballot conforming to Ballot for Accepting or Rejecting Plan of
       Reorganization (Official Form 314) shall be mailed to creditors, equity security
       holders, and other parties in interest, and shall be transmitted to the United
       States trustee.

The Affidavit of Mailing filed by the Bank shows that only certain creditors and parties in

interest received the full mailing. Creditors, such as 2425 WL, LLC, which were deemed to

reject the plan were to receive a notice as were creditors left unimpaired. The Court has

found that limited service to the creditors deemed to reject could be allowed. However, this

does not cure the issues with the mailing. Although the Affidavit of Mailing stated that service

was made on the undersigned counsel, it has not been received as of the current date. Given

that no creditors other than NBK and 2425 WL, LLC actually cast a vote upon the plan, it
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seems unlikely that creditors and parties in interest actually received the plan mailing.

Further, the Affidavit of Mailing does not show that the Plan was served on parties to

executory contracts and unexpired leases, who are certainly parties in interest.

       11.     The Plan fails to provide “adequate means for the plan’s implementation” as

required by 11 U.S.C. §1123(a)(5). The Plan provides that the Confirmation Order shall “authorize

the consummation of the Sale . . . free and clear of any Claims, Liens, interests, encumbrances,

executory contracts or unexpired leases . . . . “ However, the auction sale will not occur until after

the Confirmation hearing. Under 11 U.S.C. §1129(a)(3) the Court must find that “(t)he plan has

been proposed in good faith and not by any means forbidden by law.” The plan has not been

proposed in good faith. The plan and the sales process it encompasses have been proposed for the

purpose of allowing NBK to acquire the Debtor’s real property by means of a credit bid without

any meaningful opportunity for third party bidding. Specifically, the Plan allows NBK to make an

initial credit bid of $18.6 million but allows an ultimate credit bid of up to $62 million. 2425 WL,

LLC has objected to the bank’s ability to credit bid. However, that motion will not be heard until

the day of the confirmation hearing. By this time, the deadline for third parties to have submitted

bids will have passed. Legitimate third-party bidders will be deterred by the prospect of a bank with

almost unlimited credit bidding rights, especially when the Bank’s claim and lien rights are suspect

due to its extended history of improper conduct as referenced in other pleadings filed in this case.

Further, Hilco has not sought to legitimately market the property. The flyer sent out to bidders

states that the minimum overbid is $19,750,000. However, the Court approved bid procedures

provide that the highest bid submitted will be the Baseline Bid. Thereafter, bidding will proceed in

increments of $250,000. The Baseline Bid need only be the highest bid received by the Trustee by

the bid deadline which could be $18,601,000. As a result, Hilco has advertised a higher opening bid

than allowed by the Court’s orders. Further, the phone number which Hilco placed on the property

goes to a line dedicated to another case. Further, phone calls to Hilco by prospective bidders are not
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returned. The sales procedures in this case were approved on April 29, 2024. The deadline to

submit bids is June 14, 2024. Additionally, Hilco was only approved as a broker on April 30, 2024.

As a result, the property is being marketed for just 45 days, a woefully insufficient period for an

asset of this type.

        12.     The Plan does not satisfy 11 U.S.C. §1129(a)(5) which requires that the Plan

Proponent disclose “the identity and affiliation of any individual proposed to serve, after

confirmation of the plan. ” The Plan does not disclose who will serve as Liquidation Trustee.

Instead, the Plan just contains a circular reference stating that the Liquidation Trustee shall be “the

trustee of the liquidation trust.” See para. I(A)(54).

        13.     The Plan does not satisfy 11 U.S.C. §1129(a)(8) because classes 3, 6, 7 and 8 are

deemed to reject. As a result, the Plan must satisfy the cramdown requirements of 11 U.S.C.

§1129(b).

        14.     The Plan does not comply with 11 U.S.C. §1129(a)(10) which requires that “at

least one class of claims that is impaired under the plan has accepted the plan, determined

without including any acceptance of the plan by an insider.” Under 11 U.S.C. §1126(a), (t)he

holder of a claim or interest allowed under section 502 of this title may accept or reject a

plan.” The only creditor to accept the Plan was NBK. NBK does not hold a claim or interest

allowed under section 502 of this title. Therefore, the plan cannot be approved.

        15.     Under 11 U.S.C. §1129(b)(1) in order to cramdown a plan despite the rejection of at

least one class of impaired claims, the plan must not discriminate unfairly and must be fair and

equitable.

        16.     The Plan contains unfair discrimination. There are three classes of unsecured claims.

Class 5(a) consisting of Trade General Unsecured Claims receives 70%. plus a pro rata share of the

liquidating trust assets. Class 5(b) consisting of Other General Unsecured Claims receives a pro

rata share of the liquidating trust assets. Class 6 consisting of insiders receives no distribution. The
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general rule for classifying unsecured claims was stated by the Fifth Circuit in Matter of Greystone

III Joint Venture, 995 F.2d 1274, 1279 (5th Cir. 1991) where the Court stated “thou shalt not

classify similar claims differently in order to gerrymander an affirmative vote on a reorganization

plan.”    There is no justification offered for the disparate treatment. In some cases, a higher

distribution to current vendors has been justified where the support of those creditors is necessary to

the plan’s success. However, this is a liquidating plan in which the new owner of the property will

be free to decide which vendors to retain and which to replace. NBK has offered preferential

treatment to the Trade General Unsecured Creditors in order to gerrymander acceptance of the Plan.

         17.    The Plan also unfairly discriminates between secured claims. Class 1 is a class

of “Other Secured Claims.” It is purportedly left unimpaired. This means that the Other

Secured Claims in Class 1 will be paid according to the terms of their claims. This is not

objectionable with respect to the ad valorem tax claims which hold superior priority under

Texas law. However, NBK has includes the mechanic’s lien claim of Arin-Air, Inc. within this

class. Arin-Air, Inc. is a mechanic’s lien which is junior to the lien of 2425 WL, LLC.

However, it will receive payment in full on its lien while 2425 WL, LLC will receive no

payment on account of its lien. This is clearly unfair discrimination.

         18.    The plan is also not fair and equitable. While 11 U.S.C. §1129(2)(B) states that the

requirement to be fair and equitable “includes” certain treatment, that is not exclusive. The Court

may look to broader concepts of fairness and equity. In D & F Construction, Inc., 865 F. 2d 673,

675 (5th Cir. 1989), the court stated:

         Section 1129(b)(2) sets minimal standards plans must meet. However, it is not to be
         interpreted as requiring that every plan not prohibited be approved. A court must
         consider the entire plan in the context of the rights of the creditors under state law
         and the particular facts and circumstances when determining whether a plan is "fair
         and equitable."

In this case, one of the most valuable assets of the estate consists of claims against NBK. These

claims are so valuable that the law firm of Passman Jones has offered to pursue such claims on a
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contingent fee basis and advance costs. 2425 WL, LLC has made a cash offer to purchase such

claims for $700,000.00. However, the Trustee has made minimal to no efforts to investigate these

claims. The Plan proposes to release these claims providing that NBK will discount its unsecured

claim by 10%. See para. III(B)(g). While a plan may propose a compromise and settlement, such

compromise must be fair and equitable the same as a compromise under Fed.R.Bankr.P. 9019. In re

AWECO, Inc., 725 F.2d 293 (5th Cir. 1984). Assuming that NBK has a claim of $62 million and

acquires the property for a credit bid of $18.6 million, its unsecured claim would be $43.4 million.1

A 10% reduction of this amount would be $4.34 million. However, this is not an actual cash

amount being paid. The Plan does not even attempt to justify the settlement proposed. Rather, it

simply provides for a discount against an unsecured claim which will receive an unknown amount

under the plan. In short, the consideration being offered for compromise of this valuable claim is

illusory.

        19.          Confirmation should also be denied because acceptance of the plan was solicited

without adequate information as required by 11 U.S.C. §1125. NBK requested conditional approval

of its disclosure statement. This means that it must still prove that its disclosure statement contained

adequate information in order for the plan to be confirmed. In this case, the Disclosure Statement

lacked the following information:

              (a) On page 2 of the NBK Disclosure Statement, it asserted that “Various litigation

                     maneuvers between the parties occurred for almost the next twelve months.” NBK

                     should have been required to disclose the specific lawsuit or lawsuits filed and the

                     contentions of the parties.

              (b) .         NBK should have been required to disclose that on June 12, 2023 its lawyers

              stated “that there is no settlement agreement.”

              (c).          NBK should have been required to disclose that on June 28, 2023, its lawyers
1
  2425 WL, LLC does not stipulate that the Bank has a valid claim for $62 million. These numbers are being used for
purposes of example only.
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 stated that the “Current Outstanding Settlement Balance” was $26,038,040.92.

 (d).        On page 3 of the NBK Disclosure Statement, it asserts that “The Debtor

 defaulted under the Settlement Agreement by failing to comply with its payment terms.”

 NBK should have been required to disclose that the Debtor contends that NBK defaulted

 first by interfering with Debtor’s attempts to lease the property and by failing to tender a

 loan purchase agreement. NBK should also be required to state when the alleged default

 occurred.

 (e) .       On page 3, NBK contends that the state court allowed it to post the property

 for a foreclosure sale on July 5, 2023. NBK should have been required to disclose that

 the Debtor disputes that NBK was allowed to post the property and that such posting

 prevented Debtor’s attempt to meet the settlement terms.

 (f).        On page 4, NBK states that Adv. No. 23-03263 and Adv. No. 24-3043 will

 be dismissed under the Plan. NBK should have disclosed what consideration, if any, it is

 providing for dismissal of these actions and what the basis for dismissing such actions

 is.

 (g)         On page 5, NBK stated that it will make a credit bid. NBK should be

 required to discuss the effect of Sec. 363(k) on its ability to credit bid.

 (h).        On page 6, NBK lists the classification of claims and interests. NBK should

 have disclosed which creditors fall within which classes. If NKB intends to classify

 Respondent’s claim as an “Insider” claim, NBK should disclose why it believes that

 classifying secured and unsecured claims in a single class is permitted by the Code.

 (i). On page 6, NBK stated that on the Effective Date all unexpired leases shall be

 rejected. NBK should have discussed how rejection of all leases in the building will

 affect the value of the property.

 (j). On page 7, NBK should have disclosed whether claims against NBK will be
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           transferred to the Liquidation Trust, and if not, why not. NBK should be required to

           disclose what claims will be transferred to the Liquidation Trust without resorting to

           defined terms which obscure the substance of the contents of the Liquidation Trust.

           (k) .       On page 8, NBK should have disclosed whether the Trustee consents to the

           settlements contained in the Plan. NBK should be required to explain exactly what

           claims and causes of action are being compromised and released, what the merits of

           such claims are and whether NBK is providing any consideration for such releases.

           NBK should be required to disclose whether its plan contains third party releases and

           whether such releases are permissible in the Fifth Circuit.

           (l).        NBK should have disclosed how its proposed exclupations contained on page

           9 comply with applicable Fifth Circuit law and whether NBK is seeking to release its

           own attorneys for negligence in connection with this case.

           (m).        NBK should have disclosed why it believes that the automatic stay may

           continue in effect after confirmation of the Plan.

           (n).        NBK should have disclosed why it believes that its Gatekeeping Provision on

           page 10 complies with applicable Fifth Circuit law.

           (o).        NBK should have disclosed that 2425 WL offered to pay $500,000 for claims

           against NBK. NBK should disclose why it is in the best interest of the estate to release

           claims against NBK when there is a qualified lawyer willing to pursue claims against

           NBK on a contingent fee basis.

           (p).        NBK should have provided a full and fair discussion of the value of the

           assets of the estate.

           (q).        NBK should have provided a full and fair discussion of the claims and causes

       of action belonging to the estate.

Given the failure to provide adequate information, NBK should be required to resolicit acceptances
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and rejections of the plan.


 DATED: June 16, 2024.


                                                           Respectfully Submitted,

                                                           BARRON & NEWBURGER, P.C.
                                                           7320 N. MoPac Expwy., Suite 400
                                                           Austin, Texas 78731
                                                           Tel: (512) 476-9103

                                                    By:    /s/ Stephen W. Sather
                                                           Stephen W. Sather
                                                           State Bar No.
                                                           ATTORNEYS FOR
                                                           CREDITOR, 2425 WL,LLC

                                   CERTIFICATE OF SERVICE
           I hereby certify that the foregoing Objection was served on the 17th day of June, 2024 to
the parties on the attached list by first mail and by CM/ECF to all parties registered to receive such
service.


                                                           /s/ Stephen W. Sather
                                                           Stephen W. Sather
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Label Matrix for local noticing            2425 WL, LLC                                  Arin-Air Inc.
0541-4                                     2425 West Loop South 11th floor               c/o Smith & Cerasuolo, LLP
Case 23-34815                              Houston, TX 77027-4304                        7500 San Felipe, Suite 777
Southern District of Texas                                                               Houston, TX 77063-1709
Houston
Tue Jun 11 11:35:00 CDT 2024
CC2 TX, LLC                                City of Houston                               Galleria 2425 Owner, LLC
c/o Howard Marc Spector                    Linebarger Goggan Blair & Sampson LLP         1001 West Loop South 700
Spector & Cox, PLLC                        c/o Tara L. Grundemeier                       Houston, TX 77027-9084
12770 Coit Road Suite 850                  PO Box 3064
Dallas, TX 75251-1364                      Houston, TX 77253-3064

(p)HARRIS COUNTY ATTORNEY’S OFFICE         Hayward PLLC                                  Houston Community College System
P O BOX 2928                               c/o Melissa Hayward                           Linebarger Goggan Blair & Sampson LLP
HOUSTON TX 77252-2928                      10501 N. Central Expy., Ste. 106              c/o Tara L. Grundemeier
                                           Dallas, TX 75231-2203                         PO Box 3064
                                                                                         Houston, TX 77253-3064

Houston ISD                                National Bank of Kuwait, S.A.K.P., New York   4
Linebarger Goggan Blair & Sampson LLP                                                    United States Bankruptcy Court
c/o Tara L. Grundemeier                                                                  PO Box 61010
PO Box 3064                                                                              Houston, TX 77208-1010
Houston, TX 77253-3064

2425 WL, LLC                               2425 West Loop, LLC                           ADT
13498 Pond Springs Rd.                     2000 Hughes Landing Blvd., Suite 815          PO Box 382109
Austin, TX 78729-4422                      The Woodlands, Texas 77380-4142               Pittsburgh, PA 15251-8109



Ali Choudhry                               Arin-Air, Inc.                                Ash Automated Control Systems, LLC
1001 West Loop South 700                   5710 Brittmoore Rd. #13                       PO Box 1113
Houston, TX 77027-9084                     Houston, TX 77041-5627                        Fulshear, TX 77441-2013



CC2 TX, LLC                                CFI Mechanical, Inc                           CNA Insurance Co
14800 Landmark Blvd., Suite 400            6109 Brittmoore Rd                            PO Box 74007619
Dallas, TX 75254-7598                      Houston, TX 77041-5610                        Chicago, IL 60674-7619



Caz Creek Lending                          Cirro Electric                                City of Houston
118 Vintage Park Blvd No. W                PO Box 60004                                  PO Box 1560
Houston, TX 77070-4095                     Dallas, TX 75266                              Houston, TX 77251-1560



City of Houston                            Comcast                                       Datawatch Systems
c/o Tara L. Grundemeier                    PO Box 60533                                  4520 East West Highway 200
Linebarger Goggan Blair & Sampson LLP      City of Industry, CA 91716-0533               Bethesda, MD 20814-3382
PO Box 3064
Houston, TX 77253-3064

Environmental Coalition Inc                Ferguson Facilities Supplies                  Firetron
PO Box 1568                                PO Box 200184                                 PO Box 1604
Stafford, TX 77497-1568                    San Antonio, TX 78220-0184                    Stafford, TX 77497-1604
                         Case 23-34815 Document 526 Filed in TXSB on 06/16/24 Page 13 of 14
(p)FIRST INSURANCE FUNDING                 Gulfstream Legal Group             H.N.B. Construction, LLC
450 SKOKIE BLVD SUITE 1000                 1300 Texas St                      c/o Malcolm D. Dishongh
NORTHBROOK IL 60062-7917                   Houston, TX 77002-3509             PO Box 2347
                                                                              Humble, TX 77347-2347


HNB Construction, LLC                      Hayward PLLC                       Houston Community College System
521 Woodhaven                              c/o Melissa S. Hayward             c/o Tara L. Grundemeier
Ingleside, TX 78362-4678                   10501 N. Central Expy., Ste. 106   Linebarger Goggan Blair & Sampson LLP
                                           Dallas, TX 75231-2203              PO Box 3064
                                                                              Houston, TX 77253-3064

Houston ISD                                Jetall Companies, Inc              Kings 111 Emergency Communications
c/o Tara L. Grundemeier                    1001 West Loop South Ste 700       751 Canyon Drive, Suite 100
Linebarger Goggan Blair & Sampson LLP      Houston, TX 77027-9033             Coppell, TX 75019-3857
PO Box 3064
Houston, TX 77253-3064

Lexitas                                    Lloyd E. Kelley                    Logix Fiber Networks
PO Box Box 734298 Dept 2012                2726 Bissonent Suite 240           PO Box 734120
Dallas, TX 75373-4298                      Houston, TX 77005-1352             Dallas, TX 75373-4120



MacGeorge Law Firm                         Mueller Water Treatment            Naissance Galleria, LLC
2921 E 17th St Blgd D Suite 6              1500 Sherwood Forest Dr.           c/o Law Office of Nima Taherian
Austin, TX 78702-1572                      Houston, TX 77043-3899             701 N. Post Oak Rd. Ste 216
                                                                              Houston, TX 77024-3868


National Bank of Kuwait                    Nationwide Security                Nichamoff Law Firm
299 Park Ave. 17th Floor                   2425 W Loop S 300                  2444 Times Blvd 270
New York, NY 10171-0023                    Houston, TX 77027-4205             Houston, TX 77005-3253



Rodney L. Drinnon                          TKE                                U.S. Trustee’s Office
2000 West Loop S, Ste. 1850,               3100 Interstate North Cir SE 500   515 Rusk, Suite 3516
Houston, Texas 77027-3744                  Atlanta, GA 30339-2296             Houston, Texas 77002-2604



US Retailers LLC d/b/a Cirro Energy        US Trustee                         Waste Management
Attention: Bankruptcy Department           Office of the US Trustee           PO Box 660345
PO Box 3606                                515 Rusk Ave                       Dallas, TX 75266-0345
Houston, TX 77253-3606                     Ste 3516
                                           Houston, TX 77002-2604

Zindler Cleaning Service Co                Ali Choudhri                       Christopher R Murray
2450 Fondren 113                           24256 West Loop South              Jones Murray LLP
Houston, TX 77063-2314                     11th Floor                         602 Sawyer St
                                           Houston, TX 77027                  Ste 400
                                                                              Houston, TX 77007-7510

James Q. Pope                              Jeffrey W Steidley                 Reese W Baker
The Pope Law Firm                          Steidley Law Firm                  Baker & Associates
6161 Savoy Drive                           3000 Weslayan                      950 Echo Lane
Ste 1125                                   Ste 200                            Suite 300
Houston, TX 77036-3343                     Houston, TX 77027-5741             Houston, TX 77024-2824
                          Case 23-34815 Document 526 Filed in TXSB on 06/16/24 Page 14 of 14
Rodney Drinnon
McCathern Houston
2000 W Loop S
Ste. 1850
Houston, TX 77027-3744



                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Harris County, ATTN: Property Tax Division           First Insurance Funding                              (d)Harris County Tax Assessor
Harris County Attorney’s Office                      450 Skokie Blvd                                      PO Box 4622
P.O. Box 2928                                        Northbrook, IL 60062                                 Houston, TX 77210
Houston, TX 77252-2928 United States


(d)Harris County, et al
PO Box 2928
Houston, TX 77252




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)2425 West Loop, LLC                               (u)Landry’s Inc.                                     (u)Sonder USA Inc.




(d)Arin-Air, LLC                                     (du)Sonder USA Inc.                                  (u)Azeemeh Zaheer
5710 Brittmoore Rd. #13
Houston, TX 77041-5627



(u)Jack Rose                                         End of Label Matrix
                                                     Mailable recipients    60
                                                     Bypassed recipients     7
                                                     Total                  67
